Case 2:18-cv-08048-SVW-JC Document 84-2 Filed 10/14/19 Page 1 of 58 Page ID #:2251



   1 QUINN EMANUEL URQUHART & SULLIVAN, LLP
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   2 alexspiro@quinnemanuel.com
     51 Madison Avenue, 22nd Floor
   3 New York, New York 10010
     Telephone: (212) 849-7000
   4
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     Jeanine M. Zalduendo (Bar No. 243374)
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     865 South Figueroa Street, 10th Floor
   9 Los Angeles, California 90017-2543
     Telephone: (213) 443-3000
  10
     Attorneys for Defendant Elon Musk
  11
  12                      UNITED STATES DISTRICT COURT
  13                     CENTRAL DISTRICT OF CALIFORNIA
  14
  15 VERNON UNSWORTH,                          Case No. 2:18-cv-08048
  16
             Plaintiff,                        Judge: Hon. Stephen V. Wilson
  17
  18     vs.                                   DECLARATION OF MICHAEL T.
                                               LIFRAK IN SUPPORT OF
  19 ELON MUSK,                                DEFENDANT’S OPPOSITION TO
  20                                           PLAINTIFF’S MOTION TO
             Defendant.                        COMPEL
  21
  22                                           Complaint Filed: September 17, 2018
                                               Trial Date: December 2, 2019
  23
  24
  25
  26
  27
  28

        DECLARATION OF MICHAEL T. LIFRAK ISO DEFENDANT’S OPPOSITION TO MOTION TO COMPEL
Case 2:18-cv-08048-SVW-JC Document 84-2 Filed 10/14/19 Page 2 of 58 Page ID #:2252



   1         I, Michael T. Lifrak, declare as follows:
   2         1.    I am a member of the bar of the State of California and a partner at
   3 Quinn Emanuel Urquhart & Sullivan, LLP, attorneys for Defendant Elon Musk. I
   4 make this declaration of personal, firsthand knowledge, and if called and sworn as a
   5 witness, I could and would testify competently thereto.
   6         2.    I submit this declaration in support of Mr. Musk’s Opposition to Vernon
   7 Unsworth’s Motion to Compel.
   8         3.    Mr. Unsworth’s Motion to Compel initially included a request that Mr.
   9 Musk confirm that he has searched his iCloud account for responsive materials.
  10 Attached hereto as Exhibit 1 is a true and correct copy of the declaration Alex
  11 Stillings regarding the search of Mr. Musk’s iCloud account, that was provided to
  12 Mr. Unsworth on October 2, 2019, and has resolved this issue.
  13         4.    Attached hereto as Exhibit 2 is a true and correct copy of a meet and
  14 confer correspondence between my partner Alex Spiro, and counsel for Mr.
  15 Unsworth, dated September 26, 2019.
  16         5.    Based on a reasonable search and diligent inquiry, all documents and
  17 communications in Mr. Musk’s possession, custody, or control regarding James
  18 Howard’s investigation have been produced. No attorney-client privilege or attorney
  19 work product privilege was claimed over these materials.
  20         6.    Attached hereto as Exhibit 3 is a true and correct copy of a document
  21 produced by Mr. Musk, as MUSK000361, on July 17, 2019.
  22         7.    Attached hereto as Exhibit 4 is a true and correct copy of a tweet posted
  23 by L. Lin Wood to Twitter on August 28, 2018, containing a demand letter to Mr.
  24 Musk.
  25         8.    Attached hereto as Exhibit 5 is a true and correct copy of an email I
  26 received from Mr. Unsworth’s counsel, Taylor Wilson, on September 23, 2019,
  27 which provided access to an additional production of responsive materials by Mr.
  28 Unsworth.
                                               -1-
        DECLARATION OF MICHAEL T. LIFRAK ISO DEFENDANT’S OPPOSITION TO MOTION TO COMPEL
Case 2:18-cv-08048-SVW-JC Document 84-2 Filed 10/14/19 Page 3 of 58 Page ID #:2253



   1         9.    Attached hereto as Exhibit 6 is a true and correct copy of an excerpt
   2 from the August 14, 2019 deposition of Vernon Unsworth.
   3         10.   Attached hereto as Exhibit 7 is a true and correct copy of portions of
   4 document VU03314 produced on September 23, 2019.
   5
             I declare under penalty of perjury under the laws of the State of California that
   6
       the foregoing is true and correct and that this document was executed in Los
   7
       Angeles, California.
   8
   9
       DATED: October 2, 2019
  10
  11
  12                                         By
                                               Michael T. Lifrak
  13
  14
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28
                                                -2-
         DECLARATION OF MICHAEL T. LIFRAK ISO DEFENDANT’S OPPOSITION TO MOTION TO COMPEL
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                           EXHIBIT 1
Case 2:18-cv-08048-SVW-JC Document 84-2 Filed 10/14/19 Page 5 of 58 Page ID #:2255




                                                                      Exhibit 1, Page 3
Case 2:18-cv-08048-SVW-JC Document 84-2 Filed 10/14/19 Page 6 of 58 Page ID #:2256




                                                                      Exhibit 1, Page 4
Case 2:18-cv-08048-SVW-JC Document 84-2 Filed 10/14/19 Page 7 of 58 Page ID #:2257




                                                                      Exhibit 1, Page 5
Case 2:18-cv-08048-SVW-JC Document 84-2 Filed 10/14/19 Page 8 of 58 Page ID #:2258




                           EXHIBIT 2
   Case 2:18-cv-08048-SVW-JC Document 84-2 Filed 10/14/19 Page 9 of 58 Page ID #:2259


Jeanine Zalduendo

From:                             Alex Spiro
Sent:                             Thursday, September 26, 2019 12:40 PM
To:                               Lin Wood
Cc:                               Matt Wood; Nicole Wade; Jonathan Grunberg; Taylor Wilson; Chris Chatham; Mark
                                  Stephens, CBE; Adam Fellows; Alex Bergjans; Jeanine Zalduendo; Robert Schwartz;
                                  Michael Lifrak
Subject:                          Re: Response to Musk MSJ


Lin,


I will respond to your questions and comments about the experts in due course but the recent production has created a
pressing and significant issue.


On Monday September 23, 2019, your firm served its third supplemental production of documents, well after the
discovery cutoff and long after we’d deposed your client. In the email serving the production, Taylor represented that
“[w]ith the production of these documents, Plaintiff has completed his production and responded to each of
Defendant’s meet and confer requests.” That is not true. You continue to withhold responsive documents. They should
be produced immediately. Moreover, given that these holes continue to exist after you represented that the production
is complete, we are concerned about the preservation, collection, and review process that Mr. Unsworth and your firm
have undertaken in this case.


Perhaps most troubling and puzzling is the fact that despite the reality that it was your and Mr unsworth's decision to
bring suit well over a year ago, no one bothered to collect responsive documents (or review them) at the outset.

Mr. Unsworth Produced No Instant Messages Between Him and Tik



Mr. Unsworth’s partner, Tik, testified in deposition that she and Mr. Unsworth communicate on WhatsApp and
Line. Yet, we have not received any chat logs or documents related to their communications on either application. In
fact, Mr. Unsworth has only produced three emails between him and his partner, Tik. He has produced no other
electronic communications between the two of them.



The absence of these chats from your production is concerning. As your production makes clear, Mr. Unsworth
frequently uses these applications to chat with his friends and fellow rescue volunteers about the Thai Cave Rescue,
opportunities arising from his role in the rescue, Mr. Musk, and this lawsuit. Mr. Unsworth has produced (belatedly)
around 100 pages of chats between him and friends, and zero between him and his partner (even though we know they
used them to communicate). Given the volume of responsive chats with other persons, Tik’s testimony, and the fact
that Mr. Unsworth and Tik live apart for a substantial portion of the year, Mr. Unsworth appears to be withholding
responsive communications between him and Tik.




                                                            1


                                                                                                        Exhibit 2 Page 6
       Case 2:18-cv-08048-SVW-JC Document 84-2 Filed 10/14/19 Page 10 of 58 Page ID
                                        #:2260
Mr. Unsworth Produced 100 Pages of Key Documents Well After His Deposition and Eleven Days After the Discovery
Cut-Off



On Monday, you produced 100 pages of documents and communications, which should have been produced earlier and
in advance of Mr. Unsworth’s deposition. For instance, the production included text messages between Mr. Unsworth
and his estranged wife Vanessa. We requested a complete production of these messages in our August 7, 2019 meet
and confer letter and you agreed to produce them on our August 9, 2019 call. It is unclear why it took nearly one-and-a-
half months to produce these documents. But as a result, we were unable to question either Mr. Unsworth or Vanessa
about them at their depositions.



Also on Monday, you produced 81 pages of chat logs between Mr. Unsworth and Thanet Natisri. These chats contain
probative information relating to Mr. Unsworth’s reputation, credibility, and potential damages. The messages include
numerous references to Mr. Musk and this lawsuit. They also identify financial opportunities Mr. Unsworth received
after Mr. Musk’s statements that are relevant to testing the purported harm to Mr. Unsworth’s reputation. Again, there
is no justification for your having withheld these relevant chats from Mr. Unsworth’s earlier productions. They could
and should have been collected and produced with the other chat logs Mr. Unsworth produced in August, before his
deposition.



Additional Missing Documents



Your last production also identifies relevant documents and communications that you have not produced. Mr.
Unsworth’s chat log with Mr. Natisri shows that the two exchanged 632 photographs, 491 “stickers”, 12 video files, and
37 files. This media cannot be viewed in the format for which you produced the chat log. Please produce all chats in a
format that allows us to view all photographs, videos, sticker, and other files that Mr. Unsworth received and exchanged
in all of these chats.



Mr. Unsworth’s chats with Mr. Natisri also reference other responsive documents and communications that you have
not produced. For instance, on November 13, 2018, Mr. Unsworth told Mr. Natisri that he retained an
agent/representative, Will Robinson, to assist him negotiate film rights. However, Mr. Unsworth has produced only one
communication involving his agent (an email with an author in which Mr. Robinson is copied) and no other documents
relating to this relationship. According to the chats, more communications exist that you have not
produced. See VU03370 (“You should see the email I've just received from Dr Harry and Dr Craig book writer. They
NEED ME SO SO MUCH. Sent it on to my agent”).



Mr. Unsworth also describes emails he received from agents and studios relating to his role in the Thai Cave Rescue. On
November 13, 2018, Mr. Unsworth told Mr. Natisri that he had received an email from CAA. You have failed to produce
that email. On November 15, 2018, Mr. Unsworth messaged Mr. Natisri that he sent him an email to put him in contact
with Mr. Robinson. Again, you have failed to produce that email. Mr. Unsworth also claims in these chats that he has
had a number of meetings and communications with representatives from Warner Brothers, but again, you have failed
to produce any documents constituting or relating to these communications.
                                                           2


                                                                                                       Exhibit 2 Page 7
        Case 2:18-cv-08048-SVW-JC Document 84-2 Filed 10/14/19 Page 11 of 58 Page ID
                                         #:2261


All of these referenced communications and documents are responsive to Mr. Musk’s RFP No. 26 and should have been
produced.



The absence of a significant number of responsive documents (including communications between Mr. Unsworth and
Tik) from your purportedly “complete” production suggests either that key documents were deleted or never collected
in the first place. We ask that, consistent with your obligations under the Federal Rules of Civil Procedure and your
responses to Mr. Musk’s document requests, all of these documents be produced promptly.



Please let us know by tomorrow evening, Friday September 27, 2019, if you will be producing these documents and by
when.



Alex


Sent from my BlackBerry - the most secure mobile device
From: lwood@linwoodlaw.com
Sent: September 26, 2019 10:33 AM
To: alexspiro@quinnemanuel.com
Cc: mwood@wshllp.com; nwade@linwoodlaw.com; jgrunberg@linwoodlaw.com; twilson@linwoodlaw.com;
chris@chathamfirm.com; Mark.Stephens@howardkennedy.com; Adam.Fellows@howardkennedy.com;
alexbergjans@quinnemanuel.com; jeaninezalduendo@quinnemanuel.com; robertschwartz@quinnemanuel.com;
michaellifrak@quinnemanuel.com
Subject: Re: Response to Musk MSJ

Alex,

One more quick question - given the detailed expert reports provided to you by Mr. Unsworth’s experts, how
much time do you wish to block off for each deposition?

Thanks.

Lin

L. Lin Wood
L. LIN WOOD, P.C.
1180 West Peachtree Street
Suite 2040
Atlanta, GA 30309
Telephone: (404) 891-1402
Direct Dial: (404) 891-1406
Facsimile: (404) 506-9111
E-Mail: lwood@linwoodlaw.com

Sent from my iPhone
                                                          3


                                                                                                     Exhibit 2 Page 8
      Case 2:18-cv-08048-SVW-JC Document 84-2 Filed 10/14/19 Page 12 of 58 Page ID
                                       #:2262
On Sep 26, 2019, at 10:33 AM, Lin Wood <lwood@linwoodlaw.com> wrote:

      Alex,

      I have not refused to make these witnesses available to you. You first made the request at 9:30
      pm last night. Give me reasonable time to work through your request in order to respond. I hope
      to do so later today.

      Plaintiff adhered to the scheduling order and the experts were timely identified. Any suggestion
      to the contrary is dead wrong.

      Unlike Musk, my client has adhered to the letter and spirit of the Federal Rules relating to
      discovery.

      As I speak with the experts in order to respond to your demand of last night, please confirm that
      Musk will be responsible for paying for any necessary travel expenses for the depositions
      incurred by the deponents. Please note that Mr. Jansen resides in Qatar.

      Also, please confirm that Musk will pay these experts for their time spent preparing for the
      requested depositions, traveling to and from the depositions, and for the time spent being
      deposed.

      Thanks.

      Lin

      L. Lin Wood
      L. LIN WOOD, P.C.
      1180 West Peachtree Street
      Suite 2040
      Atlanta, GA 30309
      Telephone: (404) 891-1402
      Direct Dial: (404) 891-1406
      Facsimile: (404) 506-9111
      E-Mail: lwood@linwoodlaw.com

      Sent from my iPhone

      On Sep 26, 2019, at 6:32 AM, Alex Spiro <alexspiro@quinnemanuel.com> wrote:

              Lin,



              As in most cases, you disclosed your experts at the close of fact discovery. That
              made it impossible for us to depose them earlier. The court expects you to make
              them available for deposition (and rule 26b4a requires it). We’ve asked you to
              check with them for the weeks of October 21 and 28. Let us know when they are
              available during that period.

                                                       4


                                                                                                Exhibit 2 Page 9
Case 2:18-cv-08048-SVW-JC Document 84-2 Filed 10/14/19 Page 13 of 58 Page ID
                                 #:2263


      We will let you know by the October 14 deadline whether we intend to call
      experts. Of course we will cooperate with a request to depose them.



      I want to be clear. We remain willing to allow you the extension of time to oppose
      our summary judgment motion (as always so long as it doesn't throw off the
      whole schedule). I was merely questioning whether it was really necessary given
      the various timing issues which is neither of our faults. Our request that you
      present it to the Court in the form of an unopposed request is driven by our desire
      to not convey to the Court that we, as opposed to plaintiff, are asking to encroach
      into the 14-day period the local rule requires for review of the briefs.



      Thx



      Alex


      Sent from my BlackBerry - the most secure mobile device

      From: lwood@linwoodlaw.com
      Sent: September 25, 2019 11:01 PM
      To: alexspiro@quinnemanuel.com
      Cc: mwood@wshllp.com; nwade@linwoodlaw.com; jgrunberg@linwoodlaw.com; twilson@linwoodlaw.com;
      chris@chathamfirm.com; Mark.Stephens@howardkennedy.com; Adam.Fellows@howardkennedy.com;
      alexbergjans@quinnemanuel.com; jeaninezalduendo@quinnemanuel.com; robertschwartz@quinnemanuel.com;
      michaellifrak@quinnemanuel.com
      Subject: Re: Response to Musk MSJ

      Alex,

      I will provide a more fulsome response to you tomorrow. Suffice it for tonight to
      say that we will certainly accept subpoenas for dates we agree on with respect to
      any witness.

      Does Musk plan to identify experts? If so, am I correct that you will cooperate
      with requests for their depositions? You had earlier suggested you did not think
      you would be identifying experts but I could be mistaken on that point or you may
      have changed your mind.

      I wish this expert issue had been addressed before we did the consent stipulation.
      The order is somewhat inflexible on additional depositions beyond the discovery
      date. But I will be the first to say that the scheduling order has been a bit of a
      scheduling fiasco. I thought my request today for a 3 day extension of time by
      consent was entirely reasonable and fair yet you insist on putting me to the task of

                                               5


                                                                                       Exhibit 2 Page 10
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                                             #:2264
      filing a motion and getting a ruling because of the strict language of the Court’s
      rule and order.

       I will continue to work with you in good faith on scheduling issues provided the
       road goes in two directions going forward.

       Thanks.

       L. Lin Wood
       L. LIN WOOD, P.C.
       1180 West Peachtree Street
       Suite 2040
       Atlanta, GA 30309
       Telephone: (404) 891-1402
       Direct Dial: (404) 891-1406
       Facsimile: (404) 506-9111
       E-Mail: lwood@linwoodlaw.com

       Sent from my iPhone

       On Sep 25, 2019, at 9:36 PM, Alex Spiro <alexspiro@quinnemanuel.com> wrote:

              Lin-

              In terms of the msj schedule, we are not comfortable changing the
              requirement in the Local Rules that the judge have 14 days
              between the filing of our reply and the hearing. It cuts into the
              judge’s time to consider our motion. We are also are not willing to
              cut into our own time to respond or to change the hearing date. I
              think given that reality we should just leave it and not bother the
              court but if you file a motion to push the due dates on the
              opposition and reply by three days, we would not oppose so long
              as the above is understood. We just can't stipulate to it bc of the
              issues above.

              In terms of experts, please provide available dates for the
              depositions of Mr. Rose and Mr. Jansen, particularly the weeks of
              October 21 and October 28. Please also confirm that you will
              accept service of document subpoenas for these witnesses.

              Thx

              Alex


              Sent from my BlackBerry - the most secure mobile device

              From: lwood@linwoodlaw.com
              Sent: September 25, 2019 2:36 PM
              To: alexspiro@quinnemanuel.com
              Cc: mwood@wshllp.com; nwade@linwoodlaw.com; jgrunberg@linwoodlaw.com; twilson@linwoodlaw.com
              chris@chathamfirm.com; Mark.Stephens@howardkennedy.com; Adam.Fellows@howardkennedy.com;
                                               6


                                                                                      Exhibit 2 Page 11
Case 2:18-cv-08048-SVW-JC Document 84-2 Filed 10/14/19 Page 15 of 58 Page ID
                                 #:2265
            alexbergjans@quinnemanuel.com; jeaninezalduendo@quinnemanuel.com; robertschwartz@quinnemanue
            michaellifrak@quinnemanuel.com
            Subject: Re: Response to Musk MSJ

            I may be overly optimistic but I think the Court would be wiling to
            cut us a couple days slack on the 14 day requirement if we present
            him with a consent order on the dates. Let me know if it works for
            you and your team to present such a consent order. Then the Court
            will do what he wants with it. He will sign it or refuse to sign it.
            The consent order can include a reference to the fact that the
            hearing is presently set for October 28. Thanks.

            L. Lin Wood
            L. LIN WOOD, P.C.
            1180 West Peachtree Street
            Suite 2040
            Atlanta, GA 30309
            Telephone: (404) 891-1402
            Direct Dial: (404) 891-1406
            Facsimile: (404) 506-9111
            E-Mail: lwood@linwoodlaw.com

            Sent from my iPhone

            On Sep 25, 2019, at 2:32 PM, Alex Spiro
            <alexspiro@quinnemanuel.com> wrote:

                   Let me chat the team and circle back. Your proposal
                   makes sense if it didn't back into the 14 day rule but
                   I'll get back to you asap

                   Sent from my BlackBerry - the most secure mobile
                   device

                    From: lwood@linwoodlaw.com
                    Sent: September 25, 2019 2:25 PM
                    To: alexspiro@quinnemanuel.com
                    Cc: mwood@wshllp.com; nwade@linwoodlaw.com; jgrunberg@linwoodlaw.com; twilson@linwood
                    chris@chathamfirm.com; Mark.Stephens@howardkennedy.com; Adam.Fellows@howardkennedy.c
                    alexbergjans@quinnemanuel.com; jeaninezalduendo@quinnemanuel.com; robertschwartz@quinn
                    michaellifrak@quinnemanuel.com
                    Subject: Re: Response to Musk MSJ

                   Don’t you think that since you have a weekend for
                   your reply to what we file on the 7th that you will
                   not really need any additional time for the reply? If
                   not, I am fine with you adding reply by the 17th and
                   us submitting a consent order to the Judge with
                   those dates. He will either sign it or he will not. If
                   not, we are stuck with the present dates. Is he signs
                   it, we both have the same extra time.


                                             7


                                                                                   Exhibit 2 Page 12
Case 2:18-cv-08048-SVW-JC Document 84-2 Filed 10/14/19 Page 16 of 58 Page ID
                                          #:2266
                   L. Lin Wood
                   L. LIN WOOD, P.C.
                   1180 West Peachtree Street
                   Suite 2040
                   Atlanta, GA 30309
                   Telephone: (404) 891-1402
                   Direct Dial: (404) 891-1406
                   Facsimile: (404) 506-9111
                   E-Mail: lwood@linwoodlaw.com

                 Sent from my iPhone

                 On Sep 25, 2019, at 2:22 PM, Alex Spiro
                 <alexspiro@quinnemanuel.com> wrote:

                        The 14th. So I'm genuinely trying to
                        be helpful to your team but I'm
                        boxed in a bit

                        Sent from my BlackBerry - the most
                        secure mobile device

                        From: lwood@linwoodlaw.com
                        Sent: September 25, 2019 2:14 PM
                        To: alexspiro@quinnemanuel.com
                        Cc: mwood@wshllp.com; nwade@linwoodlaw.com; jgrunberg@linwoodlaw.com; twilson@
                        chris@chathamfirm.com; Mark.Stephens@howardkennedy.com; Adam.Fellows@howardke
                        alexbergjans@quinnemanuel.com; jeaninezalduendo@quinnemanuel.com; robertschwartz
                        michaellifrak@quinnemanuel.com
                        Subject: Re: Response to Musk MSJ

                        Remind me - what is your present
                        reply date?

                        L. Lin Wood
                        L. LIN WOOD, P.C.
                        1180 West Peachtree Street
                        Suite 2040
                        Atlanta, GA 30309
                        Telephone: (404) 891-1402
                        Direct Dial: (404) 891-1406
                        Facsimile: (404) 506-9111
                        E-Mail: lwood@linwoodlaw.com

                        Sent from my iPhone

                        On Sep 25, 2019, at 2:11 PM, Alex
                        Spiro
                        <alexspiro@quinnemanuel.com>
                        wrote:



                                          8


                                                                              Exhibit 2 Page 13
Case 2:18-cv-08048-SVW-JC Document 84-2 Filed 10/14/19 Page 17 of 58 Page ID
                                     #:2267
                            The other problem
                            because of Wilson's
                            rules is if we give you
                            an extension then we
                            have less time. We
                            can't work in an
                            extension

                             Sent from my
                             BlackBerry - the most
                             secure mobile device

                             From: alexspiro@quinnemanuel.com
                             Sent: September 25, 2019 1:57 PM
                             To: lwood@linwoodlaw.com
                             Cc: mwood@wshllp.com; nwade@linwoodlaw.com; jgrunberg@linwoodlaw.com;
                             chris@chathamfirm.com; Mark.Stephens@howardkennedy.com; Adam.Fellows@h
                             alexbergjans@quinnemanuel.com; jeaninezalduendo@quinnemanuel.com; robert
                             michaellifrak@quinnemanuel.com
                             Subject: Re: Response to Musk MSJ

                             Let me check and also
                             check on our filing on
                             Columbus day and get
                             back to you

                             Sent from my
                             BlackBerry - the most
                             secure mobile device

                             From: lwood@linwoodlaw.com
                             Sent: September 25, 2019 1:55 PM
                             To: alexspiro@quinnemanuel.com
                             Cc: mwood@wshllp.com; nwade@linwoodlaw.com; jgrunberg@linwoodlaw.com;
                             chris@chathamfirm.com; Mark.Stephens@howardkennedy.com; Adam.Fellows@h
                             alexbergjans@quinnemanuel.com; jeaninezalduendo@quinnemanuel.com; robert
                             michaellifrak@quinnemanuel.com
                             Subject: RE: Response to Musk MSJ

                                [EXTERNAL EMAIL]




                             Alex,



                             Understood. We will
                             file our response on
                             or before October 7
                             and you will file
                             your reply on or
                             before October 14.
                                       9


                                                                            Exhibit 2 Page 14
Case 2:18-cv-08048-SVW-JC Document 84-2 Filed 10/14/19 Page 18 of 58 Page ID
                                    #:2268
                            Given our
                            agreement, do you
                            think we are
                            required to submit a
                            consent order to
                            Judge Wilson or can
                            we simply proceed
                            in reliance on our
                            agreement as to
                            those dates?



                             Looks like we both
                             may possibly need
                             to supplement after
                             the depositions of
                             Glover, the
                             resolution of Mac’s
                             deposition and any
                             ruling on our
                             proposed discovery
                             dispute stipulation
                             (which I hope to
                             send to you today or
                             in the morning). But
                             we can discuss and
                             cross those bridges
                             down the road if and
                             when necessary,
                             don’t you think?



                             Thanks.



                             Lin



                             L. Lin Wood

                             L. LIN WOOD, P.C.

                             1180 West
                             Peachtree Street

                             Suite 2040
                                       10


                                                                   Exhibit 2 Page 15
Case 2:18-cv-08048-SVW-JC Document 84-2 Filed 10/14/19 Page 19 of 58 Page ID
                                   #:2269
                            Atlanta, GA 30309

                             Telephone: (404)
                             891-1402

                             Direct Dial: (404)
                             891-1406

                             Facsimile: (404)
                             506-9111

                             E-Mail:
                             lwood@linwoodlaw.
                             com



                             NOTICE: This
                             communication
                             may contain
                             privileged or other
                             confidential
                             information. If you
                             are not the
                             intended recipient,
                             or believe that you
                             have received this
                             communication in
                             error, please do
                             not print, copy,
                             retransmit,
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                             received. Thank
                             you.




                                      11


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Case 2:18-cv-08048-SVW-JC Document 84-2 Filed 10/14/19 Page 20 of 58 Page ID
                                    #:2270
                            From: Alex Spiro
                            <alexspiro@quinnem
                            anuel.com>
                            Sent: Wednesday,
                            September 25, 2019
                            1:38 PM
                            To: Lin Wood
                            <lwood@linwoodlaw.
                            com>
                            Cc: Matt Wood
                            <mwood@wshllp.co
                            m>; Nicole Wade
                            <nwade@linwoodlaw
                            .com>; Jonathan
                            Grunberg
                            <jgrunberg@linwoodl
                            aw.com>; Taylor
                            Wilson
                            <twilson@linwoodla
                            w.com>; Chris
                            Chatham
                            <chris@chathamfirm.
                            com>; Mark
                            Stephens, CBE
                            <Mark.Stephens@ho
                            wardkennedy.com>;
                            Adam Fellows
                            <Adam.Fellows@ho
                            wardkennedy.com>;
                            Alex Bergjans
                            <alexbergjans@quinn
                            emanuel.com>;
                            Jeanine Zalduendo
                            <jeaninezalduendo@q
                            uinnemanuel.com>;
                            Robert Schwartz
                            <robertschwartz@qui
                            nnemanuel.com>;
                            Michael Lifrak
                            <michaellifrak@quin
                            nemanuel.com>
                            Subject: Re:
                            Response to Musk
                            MSJ



                             We can use our
                             office. I have my own
                             personal ice machine
                             just so you know.
                                      12


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                                 #:2271


                             What about Oct 7,
                             and we respond on
                             14. Gives you the
                             weekend. Under
                             Wilson rules we have
                             to file by 14 bc he
                             requires 2 wks before
                             hearing.



                             Sent from my
                             BlackBerry - the most
                             secure mobile device

                             From: lwood@linwoodlaw.com

                             Sent: September 25, 2019 1:27 PM

                             To: alexspiro@quinnemanuel.com

                             Cc: mwood@wshllp.com; nwade@linwoodlaw.com; jgrunberg@linwoodlaw.com;
                             chris@chathamfirm.com; Mark.Stephens@howardkennedy.com; Adam.Fellows@h
                             alexbergjans@quinnemanuel.com; jeaninezalduendo@quinnemanuel.com; robert
                             michaellifrak@quinnemanuel.com

                             Subject: RE: Response to Musk MSJ




                                [EXTERNAL EMAIL]




                             Thanks, Alex. I will
                             look to hear from
                             you on the extension
                             request.



                             October 8 in NYC
                             works for me for Ms.
                             Glover’s depo. We
                             can pin down
                             location well in
                             advance of that date.
                                       13


                                                                            Exhibit 2 Page 18
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                                    #:2272
                            Do you have any
                            suggestions? Your
                            law office would be
                            fine with me.



                             Lin



                             L. Lin Wood

                             L. LIN WOOD, P.C.

                             1180 West
                             Peachtree Street

                             Suite 2040

                             Atlanta, GA 30309

                             Telephone: (404)
                             891-1402

                             Direct Dial: (404)
                             891-1406

                             Facsimile: (404)
                             506-9111

                             E-Mail:
                             lwood@linwoodlaw.
                             com



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                                   #:2273
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                            the copy you
                            received. Thank
                            you.




                             From: Alex Spiro
                             <alexspiro@quinnem
                             anuel.com>
                             Sent: Wednesday,
                             September 25, 2019
                             1:23 PM
                             To: Lin Wood
                             <lwood@linwoodlaw.
                             com>
                             Cc: Matt Wood
                             <mwood@wshllp.co
                             m>; Nicole Wade
                             <nwade@linwoodlaw
                             .com>; Jonathan
                             Grunberg
                             <jgrunberg@linwoodl
                             aw.com>; Taylor
                             Wilson
                             <twilson@linwoodla
                             w.com>; Chris
                             Chatham
                             <chris@chathamfirm.
                             com>; Mark
                             Stephens, CBE
                             <Mark.Stephens@ho
                             wardkennedy.com>;
                             Adam Fellows
                             <Adam.Fellows@ho
                             wardkennedy.com>;
                             Alex Bergjans
                             <alexbergjans@quinn
                                     15


                                                                   Exhibit 2 Page 20
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                                   #:2274
                            emanuel.com>;
                            Jeanine Zalduendo
                            <jeaninezalduendo@q
                            uinnemanuel.com>;
                            Robert Schwartz
                            <robertschwartz@qui
                            nnemanuel.com>;
                            Michael Lifrak
                            <michaellifrak@quin
                            nemanuel.com>
                            Subject: Re:
                            Response to Musk
                            MSJ



                             Lin- an extension
                             shouldn't be a
                             problem let us just
                             check judge Wilson
                             rules and let me
                             confer w my team.



                             Also- I heard back
                             from Ms Glover who
                             informed me she is in
                             NY on Oct 8.
                             Obviously I'm fine to
                             do it in NY but
                             wanted to check



                             Sent from my
                             BlackBerry - the most
                             secure mobile device

                             From: lwood@linwoodlaw.com

                             Sent: September 25, 2019 1:08 PM

                             To: alexspiro@quinnemanuel.com

                             Cc: mwood@wshllp.com; nwade@linwoodlaw.com; jgrunberg@linwoodlaw.com;
                             chris@chathamfirm.com; Mark.Stephens@howardkennedy.com; Adam.Fellows@h
                             alexbergjans@quinnemanuel.com; jeaninezalduendo@quinnemanuel.com; robert
                             michaellifrak@quinnemanuel.com

                             Subject: RE: Response to Musk MSJ

                                       16


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                                 #:2275


                                [EXTERNAL EMAIL]




                             Alex,



                             My turn to admit
                             hitting the send
                             button
                             inadvertently. Sorry.



                             Will you agree to a
                             consent order being
                             submitted to Judge
                             Wilson that extends
                             Mr. Unsworth’s
                             response date by
                             one week, i.e., to
                             October 11? We will
                             certainly agree to
                             any extension you
                             request as to your
                             reply due date and
                             can include that in
                             the consent order if
                             you wish. The depos
                             next week have
                             simply put us in a
                             time crunch to meet
                             the present October
                             4 deadline.



                             Can you let me know
                             today if that is
                             agreeable?



                             Thank you,


                                       17


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                                 #:2276


                             Lin



                             L. Lin Wood

                             L. LIN WOOD, P.C.

                             1180 West
                             Peachtree Street

                             Suite 2040

                             Atlanta, GA 30309

                             Telephone: (404)
                             891-1402

                             Direct Dial: (404)
                             891-1406

                             Facsimile: (404)
                             506-9111

                             E-Mail:
                             lwood@linwoodlaw.
                             com



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                             information. Also,
                             please indicate to
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                                                                   Exhibit 2 Page 23
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                                   #:2277
                            the sender that you
                            have received this
                            communication in
                            error, and delete
                            the copy you
                            received. Thank
                            you.




                             From: Lin Wood
                             Sent: Wednesday,
                             September 25, 2019
                             12:57 PM
                             To: Alex Spiro
                             <alexspiro@quinnem
                             anuel.com>
                             Cc: Matt Wood
                             <mwood@wshllp.co
                             m>; Nicole Wade
                             <nwade@linwoodlaw
                             .com>; Jonathan
                             Grunberg
                             <jgrunberg@linwoodl
                             aw.com>; Taylor
                             Wilson
                             <twilson@linwoodla
                             w.com>; Chris
                             Chatham
                             <chris@chathamfirm.
                             com>; Mark
                             Stephens, CBE
                             <Mark.Stephens@ho
                             wardkennedy.com>;
                             Adam Fellows
                             <Adam.Fellows@ho
                             wardkennedy.com>;
                             Alex Bergjans
                             <alexbergjans@quinn
                             emanuel.com>;
                             Jeanine Zalduendo
                             <jeaninezalduendo@q
                             uinnemanuel.com>;
                             Robert Schwartz
                             <robertschwartz@qui
                             nnemanuel.com>;

                                     19


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                                   #:2278
                            Michael Lifrak
                            <michaellifrak@quin
                            nemanuel.com>
                            Subject: Response to
                            Musk MSJ



                             Alex,



                             Would you agree to
                             a consent order to



                             L. Lin Wood

                             L. LIN WOOD, P.C.

                             1180 West
                             Peachtree Street

                             Suite 2040

                             Atlanta, GA 30309

                             Telephone: (404)
                             891-1402

                             Direct Dial: (404)
                             891-1406

                             Facsimile: (404)
                             506-9111

                             E-Mail:
                             lwood@linwoodlaw.
                             com



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                                   #:2279
                            intended recipient,
                            or believe that you
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                            the sender that you
                            have received this
                            communication in
                            error, and delete
                            the copy you
                            received. Thank
                            you.




                                     21


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                                 #:2280




                        EXHIBIT 3
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                                 #:2281


From:      James Brickhouse
Sent:      Tue 9/18/2018 4:39 PM (GMT-07:00)
To:        "Jupiter Private" <info@jupiter-private.com>
Cc:
Bcc:
Subject:   Re: Project Rowena Update


You mentioned several days ago that you would be sitting down with your embassy contact to
get documented proof of Unsworth's travel over those 6 years that you indicated he spent time in
Pattaya. Did that happen? That is an important piece of verification.

On Tue, Sep 18, 2018 at 4: 16 AM Jupiter Private < info@jupiter-private.com> wrote:
 Jim, this is the info as it came to me from the female lead from our team who befriended the
 sister and mother. Obviously we now know the DOB was incorrect. They related to the
 investigator that he fust visited Thailand 29 yrs ago which would have been 1989. I have asked
 Steve to look at the Uk embassy records to verify.


 l.When did he fust move to Thailand?
 = He fust moved to Thailand about 7 years ago. (He fust visited Thailand 29 years ago for his
 cave exploration project in the Southern of Thailand)

 2.Do we know if he was visiting in the years before he moved to Thailand?
 = Before he met Kun Tik. He sometimes traveled to Thailand for cave exploration and came
 with his cave explorers.

 3.Why did he chose Chiang Rai, or was he based somewhere else previously - Pattaya etc?
 = The reasons that he has chosen to live in Chiang Rai, because he loves studying about caves.
 ChianfRai has plenty of interesting caves, especially Tam Luang. He believes that he still can
 explore more about this cave. Secondly, Kun Tik., it is her hometown and also she has land and
 house here. Tik has to take care of her family i.e. her Father, Mother and daughter (with her ex-
 husband) and she has a job here. So that it'd be a good reason for Vernon to live for his
 retirement here.

 4.We understand he may have a coffee shop in Chiang Rai - is this his source of income?
 = He opened a small coffee shop in 2016, named "Cha-Pa-Yom" which it is located in Mae Fha
 Luang district. It was a small coHee stand. It was not his source income.

 5.Ifhe has the coffee shop, is it successful and what do his competitors think?
 = In the past he used to open this small coffee shop, there were a whole lot customers. So he
 didn't have competitors.

 6.Where does he live and what lifestyle does he lead - expensive house/condo?
 = For some period of time, they would come to stay with Tik's parents house. Her mother's
 house is also a small grocery shop. It has been on business since 2011 . "Wan dee" is the name
 of the shop, which located in                                  Huai Krai sup-district, Maesai
 district, Chiang Rai Province. It's a one floor house and it is belong to her family.




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 7.1s he actually married to Khun Voranan?
 = They have not made the marriage registration but they had a wedding ceremony according to
 Tik's family traditional.

 8.When did they meet and how did they meet?
 = They both met each other in England 8 years ago. Tik had a summer vacation and visited her
 friends there. A friend of her introduced Tik to Vernon. That was the beginning of their
 relationship.


 Additional information;
 I.Miss Woranan Ratrawiphukkun
 - Her previous name was Suvimon Chomkeaw
 - born on
 - Age 30
 - Phone number
 - She used a car       MG. Light blue color, plate no.
 - She's been working as a Secretary of Chief Executive of the SAO at Huai Krai SOA for 7
 years.
 - She worked in a chemical company in Bangkok.
 - She quit the job in Bangkok then moved back to her hometown, in order to open the grocery
 shop. Her mother's now running the shop.
 - She was married with a Thai person. She has a daughter/ 13-14 years old. The reason that she
 divorced was her ex-husband had a another lover.
 - Tik has one younger sister. Her sister is married and moved to another provice.
 - She graduated in Bachelor degree in Chaing Mai Rajabhat University, in management major.
 - She has her business, is manicures salon "Elegant nails & Beauty Spa". There are 2 branches

     1st Branch is located in front of Mae Fah Luang University
    Address:                                      , Tha-Sud sub-district, Mae Fah Luang district,
 Chiang Rai province.
     2nd Branch
     Address:                            Nang-Le sub-district, Mae Fah Luang district, Chiang
 Rai province.
 Open from 10.00 to 21.00 Hrs.

 - Her business is running well, there are a lot of customers. Because there is not much
 competition. And it is her main income.
 - She has open her business since 2013. The rentals cost 8,000 bahtlp month

 - He is fascinated in cave exploration all over the word and he has been doing it for over 40
 years. He usually went with his team. He is planing about investing a tour business in Chaing
 Rai.




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 -They also have another business is importing digital Coffee Tampers. Since 2016 Name:
 "Eazytamp Thai" it sells throughout the nation. They has opened this business since 2016,
 they're both visiting many coffee shops.

 - They recently bought a piece of land, which is close to Tik's mother house about 2 kIn. they
 are planing to build a house as well as a small resort there. Now it is a rice field.

 - Vernon has a cave exploration project again in Tam-Huang soon. As the same time, he will
 also explore a cave in Naan province with his team.

 - Vernon has left Thailand on the 18th July 2018 to England, then he will return on the 5 Sep 18
 at the Suvarnabhumi Airport, Bangkok. His arrival at 3pm and Tik will fly to meet him at 4pm
 the airport.

 - They both will attend to the thanking party at 6pm-21pm the Dusit Palace, Bangkok. The party
 was held by the Thai Government.

 - Vernon stays in Thailand by a Tourist Visa from the beginning. He sometimes extended his
 visa by crossing the border in Maesai district, sometime he went to Vientiane. The Thai
 Government will renew a type of visa for him for a long term stay.

 - He will stay in Thailand about 1 or 2 months then he will return to England.

 - Vernon was marred to an English lady and they have one son.

 - Vernon is older than Tik for 23 years, they started dating in late 2009

 Kind regards,
 James

 CEO - Qatar & UAE
 Jupiter Military & Tactical Systems
 Al Saad - Area 38
 Street No. 893, Building No . 7
 P.O. Box 22509 Doha
 State of Qatar
 +44 (0) 7917 401601



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                                 #:2284


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 On 17 Sep 2018, at 23:49, James Brickhouse < jbrickhouse11@gmail.com> wrote:

  I'm available whenever you are.

  Also, what was the information source that suggested Unsworth has been going to Thailand
  since the 80's?

  On Mon, Sep 17,2018 at 10:59 AM Jupiter Private <info@jupiter-private.com> wrote:
   Jim, I'm still here in Thailand and I am have not diverted my efforts away from the task or I
   would have informed you. I have been working hard with my Thai team as we last discussed.
   The time zones don't make it easy to communicate and as I had not heard from you I had
   presumed you where away with the principle. Disappointed you would think me so ready to
   abandon my post.

   I am on route back to Chiang Mai tomorrow and suggest we communicate at 1700 GMT for a
   de-brief

   Kind regards,
   James

   CEO - Qatar & UAE
   Jupiter Military & Tactical Systems
   Al Saad - Area 38
   Street No. 893, Building No.7
   P.O. Box 22509 Doha
   State of Qatar
   +44 (0) 7917 401601
   info@jupiter-private.com
   www.jupiter-private.com


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   WlJ 5FJ

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  On 17 Sep 2018, at 18:50, James Brickhouse < jbrickhousell@gmail.com> wrote:

   James,

   It appears you have decided to focus on other efforts that don't include the Rowenta related
   work. Your last email was 5 days ago and it contained nothing relevant to this project. Only
   a reference to your efforts to getting the birth record, which I obtained on my own accord. If
   you have decided to focus elsewhere, that is fme, but I will expect funds to be returned.

   Thank you.

   On Fri, Sep 14, 2018 at \0:29 AM Jupiter Private < info@jupiter-private.com> wrote:
    Jim in transit I'll call when I am free a little later.

    Kind regards,
    James

    CEO - Qatar & U AE
    Jupiter Military & Tactical Systems
    Al Saad - Area 38
    Street No. 893 , Building No. 7
    P.O. Box 22509 Doha
    State of Qatar
    +44 (0) 7917 401601
    info@jupiter-private.com
    www.jupiter-private.com


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                                 #:2286




    On 14 Sep 2018, at 18:19, James Brickhouse <jbrickhousell@gmail.com> wrote:

     Any news?

     On Wed, Sep 12, 2018 at 7:49 AM Jupiter Military & Tactical Systems <info@jupiter-
     private. com> wrote:
      Jim ,
      Yes Ive been on the ground these past five days. I apologise for the lack of comms, my UK cell
      reception is not great and I have been in transit between Chiang Rai, Bangkok and PaUaya.

      Unsworth was not a liked man on the ground during the dive rescue . A number of the Dive
      centres in Pattaya have divers that assisted with logistics in the rescue and have mentioned to me
      over a few beer that Unsworth was difficult and that he's attracted negative press to the rescue
      efforts. Everyone knows that his comments where initially inflammatory and that it was his initial
      outburst that riled the principle. When asked if they thought or knew anything about Unsworth's
      past they all said that they had no proof and had not heard anything specific. Just that he is not an
      easy man to like.

     The update is that I am waiting this evening to meet with the Thai investigator and see if she has
     been able to secure a copy of the birth certificate that verifies the partner details one way or
     another. The dust has settled and its allot easier to move around the hotels and bars of Pattaya
     asking if they know Unsworth etc. I have met with one hotel owner and the records for the hotels
     which are a simple check in book are held by the previous hotel owner for the dates that interest
     us. I am meeting with him tomorrow as he is now retired but on the phone he has confirmed that
     he does have the old hotel registration books and will allow me to copy them. I will be staying in
     Thailand until we have exhausted all avenues and have completed the task.

      Update on Unsworth is that he is returning to the UK next week and has confirmed meetings with
      his legal team Howard Kennedy on Tuesday and Wednesday.

      I will keep you updated when I have further information .

     Kind regards,
     James

     CEO - Qatar & UAE
     Jupiter Military & Tactical Systems
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     P.O. Box 22509 Doha
     State of Qatar
     +44 (0) 7917 401601
     info@jupiter-private.com
     www.jupiter-private.com

     Jupiter Executive Protection
     43 Berkeley Square
     Mayfair, London
     W1J 5FJ
      +44 (0) 7917 401601

     ~
     CJ


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      On 12 Sep 201S, at 04:33 , James Brickhouse < jbrickhousell@gmail.com> wrote:

      Also, I can help but think that after his random and unprovoked initial attack on our
      principle, he has made enemies. They will likely know his dirt.

      On Tue, Sep II, 20lS at 7:52 PM James Brickhouse <jbrickhousell@gmail.com>
      wrote:
       James,

       I didn't hear from you today. I suppose you've made it to Thailand by now? I look
       forward to an update. Clearly we'd like to gather as much relevant information as
       possible, but we of course need to ensure it is done carefully and legally. Has there
       been any progress in Pattaya?


       On Fri, Sep 7, 20lS at 2:21 AM Jupiter Military & Tactical Systems < info@jupiter-
       private.com> wrote:
        Jim,
        Let me clear up the marriage issue. All the papers after the fIrst Twitter fall out in the
        UK reported that Unsworth was marred. It was not until the investigation team spoke
        to her sister that we learnt that they have had a wedding but, they did not complete the
        necessary registration with the local authorities. They regards themselves as a husband
        and wife, this however is not legal in Thailand. If her age is 30 then they met when she
        was IS/ 19. If she is in fact she is 40 then its they met when she was 2S/29. The lead
        Thai investigator has arrived in Chiang Rai this morning to go to the town hall to
        obtain a copy ofthe birth certificate so we have proof you requested.

        What I am doing now is reviewing all the evidence as its collected and then verifying
        this myself. I am also flying to Bangkok tomorrow morning to take charge of the
        investigation in Pattaya. T feel now that this is where the results will be found ifthey
        exists and I want to control the flow of information.

        I will report further developments later today.


        Kind regards,
        James Howard




                                                                                                          Exhibit 3, Page 33
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        ~
        CJ
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         On 6 Sep 2018, at 20:00, James Brickhouse < jbrickhousell@gmail.com> wrote:

         Please assure your source that we will not expose him or his information. Please
         understand that as of this moment much of what you have told us can't be
         verified. Our request for actual documentation is to confirm that we are being given
         legitimate information. The info that you said was leaked to the press wasn't actually
         leaked to the press. It was an off the record comment (which disgracefully was not
         respected as such and instead published) meant to encourage the journalist to actually
         do some due diligence rather than simply make assumptions. It doesn't seem too
         difficult to get something verifying her age, a document confirming travel records or
         a copy of a newspaper article. These things are vital simply for us to know that we
         are getting legitimate information.

         Regarding your follow up comment, we were told numerous times that they were
         'married' (or formed a relationship) in her late teens (you said 18), but that she was
         quoted in a newspaper saying they met 7 years prior. Does a copy of that article
         exist? Can you send it along? It appears this narrative has changed, or information
         was relayed based on broad assumption and that's what has us asking for legit
         verification. Because based on that original narrative she would have actually been a
         child/young teenager when they first met.




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         With that said, let's focus on what we can do now to be productive, move toward the
         objective and verify some of the key data. Do you have a definitive way to confirm
         her age? Have the guys found anything new in Pattaya?

         On Thu, Sep 6, 2018 at 10: 14 AM Jupiter Military & Tactical Systems
         <info@jupiter-private.com> wrote:
          Jim,
          Just to clarify the points you made. The investigation team in Chiang Rai was able to
          establish a number of important information. I made the assumption based on what
          was reported back to me that if her age is in-fact 30 and not 40 and that she has been
          married (not legally) but in a religious context for 7 years plus we also know that she
          was dating Unsworth for at least a further 3 years prior to this then she would have
          been in her late teenage years when they met. I believe I told you that I thought this
          would have been about 19. There is a big difference between 19 and 29 I agree, and
          an even bigger leap to being a child rapist. I do not know how anyone could come to
          that conclusion as neither of us have ever mentioned children or rape in our
          conversations.

          Today is the Thai Governments big celebration with over 60,000 expected in
          Bangkok. Our source at the Embassy is naturally extremely concerned about his
          information being used by the 3rd parties in further exchanges with the media. What
          assurances can I give him? You require evidence that can be used by the foreign
          press to show Unsworth was a regular visitor to Pattaya which is a well known haunt
          for sex tourists. Yes, the team are in Pattaya and developing the best strategy to
          qualify the information we have and then hopefully finding someone who knows
          unsworth and will give a statement.

          The UK Embassy will be back to normal staffing tomorrow as it was closed this
          afternoon in preparation for this evenings event.

          I have taken onboard what you have said and if! thought the information I gave you
          would be leaked to the press then we would have triple checked everything. This is
          not how we normally work. We would normally gather all the data we need to make
          our case findings and then go over it in fine detail and then present it.

          I am am gathering the information you require as quickly as humanly possible.

          Kind regards.
          James

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          On 6 Sep 2018, at 17:53, James Brickhouse < jbrickhousell@gmail.com> wrote:

          James - I hope to receive additional information today. I assume the team is still
          engaged inPattaya?

          Also, as you may expect, I have spent time over the last 24 hours compiling the
          information you've provided. Not to beat a dead horse, but to briefly revisit the
          point below, you never did report that the target is a child rapist. However you
          undoubtedly understand where the principal was drawing this conclusion
          from. You reported in multiple phone conversations that the age of the target's
          girlfriend (believed to be his wife at the time) would have put her in her teens when
          they 'married' and that she was quoted in a Thai news article saying they first met 7
          years prior to that - which would have made her a very young teenager at the
          time. Some (all?) of this information has now proven to be wrong. They aren't
          married and her age is unconfirmed. I also haven't seen the Thai article you
          referenced. So while I agree that the comments by the principal were ill advised,
          you can understand that using the data you provided would have allowed him to
          draw this conclusion without you explicitly reporting it as fact.

          J

          On Wed, Sep 5, 2018 at 7:51 AM James Brickhouse < jbrickhousell@gmail.com>
          wrote:
           There is no confusion where this is concerned. You have not reported this and I
           have not communicated it either. I understand your concern about self
           sabotage. A concern of mine as well.

              On Wed, Sep 5, 2018 at 2:00 AM Jupiter Private < info@jupiter-private.com>
              wrote:
               Jared, I would like to state the following. At no time have have I reported that the
               target is a child rapist.

               We need to be clear about what we are looking for. The target had a traveling
               pattern that shows he spent time before he moved to Northern Thailand in
               Pattaya. We are qualifying what the target did on his travels and will report back
               as soon as we have that information.

               What I can confirm is that he is about to launch libel action and we are working
               as quickly as possible to defuse that action by clearing showing a behavioural
               pattern that replicates a sex tourist. That task is now difficult time complete in a




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            covert way. The recent buzznews comments will be big news in Thailand.
            Tomorrow is the national celebration ofthe rescue & is still big news in Thailand.

            I feel that an appropriate course of action is to try to avoid the public circus &
            instruct Kieth Oliver to meet with Marc Stephens to open a channel of
            cOl11l11unication whilst we attempt to continue our investigations. Every effort is
            being made to ensure accuracy & we know this now may required as evidence in
            a UK court & I would have to show how the evidence was collated.

            I suggest a telephone call to discuss the strategy & impact.

            Kind regards,
            James

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            On 5 Sep 2018, at 01:20, Jared Birchall < jaredbirchall@gmail.com> wrote:

             So are you saying you don't have the data gathered?


             On Tue, Sep 4, 2018 at 3:53 PM Jupiter Military & Tactical Systems
             <info@jupiter-private.com> wrote:
              Jim,
              I appreciate that you need quick results. I am very confident that we will get
              what we need from Pattaya.

              I appreciate its open season on "the principle" holds the moral high ground and
              right now the less said is more.

              Elon has nothing to prove to anyone!! Unsworth made this happen, not Elon.

              We know Vernon is a a'bad boy' and we are close to having the evidence we
              need.

              Jim I cannot stress enough that we need some time to qualify the data.

              We will have one shot to get this right and I intent to do so,

              Kind regards,
              James

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             <image002.jpg>




     <image002.jpg>




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                        EXHIBIT 4
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                        EXHIBIT 5
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Jeanine Zalduendo

From:                        Taylor Wilson <twilson@linwoodlaw.com>
Sent:                        Monday, September 23, 2019 1:15 PM
To:                          Alex Spiro; Robert Schwartz; Alex Bergjans; Jeanine Zalduendo; Michael Lifrak
Cc:                          Lin Wood; Matt Wood; Jonathan Grunberg; Nicole Wade; Chris Chatham; Kimmy Hart
                             Bennett
Subject:                     Unsworth v. Musk - Plaintiff Supplemental Production


                                             [EXTERNAL EMAIL]


Counsel: Below please find a link to download Plaintiff’s supplemental production for documents bates
labeled VU03314-3414. With the production of these documents, Plaintiff has completed his production and
responded to each of Defendant’s meet and confer requests. Please let me know if you have any trouble
accessing the documents. Thank you.

https://www.dropbox.com/sh/5c5ozya7hsq8ghp/AAD52mHUxPAk8Yzxe7gLT9sOa?dl=0

______________________
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                        EXHIBIT 7
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Chat history with Thanet
Saved on : 2019/08/1013:16

2018 /07/01 (Sun)
7:34    Vern    [Sticker]
7:34    Thanet [Photo]
7:37    Thanet [Photo]
7:37    Thanet [Photo]
7:37    Thanet [Photo]
7:37    Thanet [Photo]
8:05    Thanet [Photo]
8:06    Thanet [Photo]
12:17 Vern      How are you doing in Phamee? VERY
12:21 Thanet Call time 3:24
12:22 Thanet [Photo]
12:22 Thanet What do you think about this map
12:24 Thanet It show the possibility flow rate of the water to the cave system. They base on information we have so far
12:30 Vern      We don't know as we have never been in the cave when both streams are flowing . The passage at the downstream end of
Monk's Series are considerably smaller than those in the main passage.
12:43 Thanet I see
12:43 Thanet Tomorrow we will try to push the survey to close all small sink hole on the west side of Pa Mee like you suggest
12:43 Vern      [Sticker]
13:19 Thanet Ok we got green light to survey, and man power, Do you think that we can have someone that assist us
13:19 Thanet To assist us as advisor
13:19 Thanet The west side of pa mee like you suggest
15:21 Thanet Ok we got green light to survey, and man power, Do you think that you can spare someone that can assist us in the
survey?

The west side of pa mee like you suggest


15:21 Thanet [Photo]
15:22 Thanet Parameter area that our team will survey tomorrow is in red circle.
17:07 Vern      My friend 's British Divers get to the junction tonight. Water from Monks Series clear and water feel warmer than water
from far end which is cloudy and colder. This means water in Monks Series has not travelled a long way underground?
18:00 Thanet Yes
18:00 Thanet Water from monk series is closer to recharge area on north side
18:02 Thanet Which mean it has to be recharge from close by sin k hole or crack
18:05 Thanet I have my team working on the possible recharge area map on pa mee area for survey tomorrow I will send you copy
when it done

2018/07102(Mon)
1:01      Thanet [Photo]
1:01      Thanet [Photo]
1:01      Thanet Ok here it is
1:02      Thanet 1. 589 ,371.418 2,254,893.748 Meters
2. 589 ,255.662 2,254,814.373 Meters
3. 589 ,206.053 2,254,771 .378 Meters
4.589 ,030.766 2,254 ,774.686 Meters
5.588,971.235 2,254,599.399 Meters
6.589,483.866 2,254,179.372 Meters
7.589 ,067.146 2,254,162.836 Meters
8.588,743.031 2,254,083.460 Meters
9.589 ,004.307 2,253,726.272 Meters
10.588,547.900 2,253,964.398 Meters
11.588,779.411 2,253,679.970 Meters
12.588,759.567 2,253,613.824 Meters
13.588 ,544 .593 2,253,593.980 Meters
14.589,060.532 2,253,504.683 Meters
15.589,040 .688 2,253,375.699 Meters
16.588,640.505 2,253,250.021 Meters
17.588,4 75 .140 2,253,226.870 Meters
18.589,457.407 2,254,023.929 Meters
19.588,580.973 2,254,959.894 Meters
20.588,653 .734 2,255,095.494 Meters
21 .589 ,649.231 2,254,070.231 Meters
22.589 ,725.299 2,254,880.519 Meters
23.589 ,817.903 2,254,635.779 Meters
24.589.900.585 2.254.314.971 Meters


                                                                                                                     Exhibit 7, Page 46
                                                                                                                                 VU03314
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5:19    Vern    Not an easy caving trip and so much more to find in Monks Series. It's an interesting part of Tham Luang . May even have
an upper series
5:19    Thanet Wow
5:20    Thanet That will be new discovery
5:20    Vern    Let me have the info when convenient
5:20    Vern    [Sticker]
5:20    Thanet Sure, will do
5:20    Vern    Lot's of new passages to find
5:20    Thanet Being a caver must be very excited
5:21    Thanet Discover thing, go to the unknown
6:07    Vern    [Sticker]
9:36    Vern    [Photo]
9:49    Vern    Where Monks Series Ends the passage then heads west for circa 400metres not yet surveyed. Most of the 400metres is
crawling some flat out. It ends in a very low section which requires digging but you can see the passage continuing with still a strong
draught
9:50    Vern    Effectively it runs up the valley between the 2 large blocks of limestone

2018/11/11(Sun)

20 18/11/13(Tue)
3:05    Thanet [Sticker]
3:05    Thanet Hi Vern
3:05    Thanet Sorry for late reply
3:05    Thanet Quite busy with work and stuff
3:05    Thanet [Photo]
3:05    Thanet [Photo]
3:05    Thanet They said he went to chamber 3
3:06    Thanet And also there is drama behind thus as well
3:06    Thanet The person who took musk and his team inside the cave should ask permission from the central command first
3:07    Thanet But instead they going in without permission but using influence to Prime minister to go in
3:08    Thanet Next day they were also fighting over this as many people specially Narongsak is very upset
3:09    Thanet Because of the rescue operation is undertaking that why they so stick with regulation at that time
3:09    Vern     [Sticker]
3:10    Thanet No problem
3:10    Vern     Howru
3:11    Thanet Good little busy with work here and coordinated with my team in Thailand that doing water work
3:11    Thanet What about you?
3:11    Vern     Busy and Tired
3:12    Thanet 555 you should take some time off
3:12    Thanet I heard that Matt's book is on sale tomorrow
3:12    Vern     Have a meeting with Head of National Parks tomorrow morning at Tham Luang. Will be interesting (exclamation)
3:13    Vern     Dr Harry and Dr Craig are asking for my help with the book they are doing
3:13    Thanet Ah great I!!
3:13    Vern     https:l/www.smh.com .au/world/asia/richard-harris-craig-challen-Iand-6m-book-movie-deal-on-thai-cave-201811 05-
p50e6r.html
3:13    Thanet It will be wonderful for sure
3:14    Vern     I now have an agent/representative
3:15    Thanet 555
3:15    Thanet That good , at least I'm sure they will have to pay you for permission
3:15    Vern     You also need one (exclamation)
3:15    Thanet I wish they will be people pay me for my story 555
3:16    Vern     You have gone out too soon with your daily diary
3:16    Thanet No one have seen it only you and Martin
3:17    Thanet Not even Matt
3:18    Thanet Did Matt have to pay you for the story and your corporation?
3:18    Vern     I can try help through my agent but not sure he needs it. He's a British Music Producer and Promoter very well comnected
throughout the film and music industry. He's 51 and doesn't neef to work. Lives in Chiangmai at the moment
3:19    Thanet Cool , that be great
3:21    Vern     Not a £$ from Matt (crazy) very stupid of us
3:21    Thanet 5555 same here
3:22    Thanet You know , we all should get together and write the book invloved our role in it in very detail
3:22    Thanet I'm sure many agency will love to pay us for our story
3:22    Thanet That's what Capt Dan recommend
3:23    Vern     We have gone about it in the wrong way but some are only in it for themselves £££
3:23    Vern     People can get greedy
3:25    Thanet 555
3:25    Thanet Too bad
3:26    Thanet Well I'm sure if John Chu movie will included our role, they will may give us some compensate or royalty fee



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                                                                                                                               VU03369
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3:27     Vern    You should see the email I've just received from Dr Harry and Dr Craig book writer. They NEED ME SO SO MUCH . Sent
it on to my agent
3:27     Vern     My agent is in touch with John Chu
3:28     Thanet I think they will pay you for your help
3:28     Thanet That nice, everyone know are very important in this rescue
3:29     Thanet You are **
3:29     Vern    I'm good to play hardball had enough of book writers and film companies taking the piss
3:30     Thanet [Sticker]
3:31     Thanet Well , if there is anything I could help you or Dr Harris, just let me know
3:32     Vern    I will mate let me speak to my agent. I have also put him in touch with Josh
3:35     Thanet Cool.
3:36     Thanet Josh contact me the other day
3:36     Thanet He ask if I have any video of him on July 6
3:37     Thanet He mention about he writing his involvement in diary?
3:37     Thanet And almost done
3:38     Thanet And also said he will try to connect me with the UTA who is working with Ivanhoe production
3:55     Vern    Will is seeing Josh later this morning in Chiangmai
4:07     Vern     Don't jump in let them swet
4:10     Thanet Sure, no one contact me yet
4:10     Thanet Beside josh
4:11     Thanet I think all of us should stick together on this Vern
4:11     Vern    [Sticker]
4:11     Thanet It might be better to present our story as a package
4:12     Thanet It will more valuable , most interesting story front and behind the scene that people don't know and if we can get British
divers in with us it even better
4:15     Vern    Leave the British Divers they are trying to do there own thing leave others out (exclamation)
4:15     Thanet Really?
4:16     Vern    [Sticker]
4:17     Vern    What is your LINE ID
4:18     Vern     Forget about the divers OK
4:19     Thanet Sure,
4:19     Vern    What is your LINE ID
4:19     Thanet Line ID: thanetnatisri
4:20     Vern    I have sent to my agent his name Will Robinson
4:24     Thanet Cool , thank you
4:28     Vern     Hollywood CM want to meet with me in Maesai (exclamation)
4:31     Thanet Wow
4:31     Thanet That great I!!
4:31     Thanet [Sticker]
4:32     Vern    Let them swet
4:33     Vern     You sent me 3 videos in the war room on the 6th can send to me again
4:34     Thanet Sure, let me find it
4:34     Thanet It long time ago 5555
4:35     Vern    I have them but cannot open say no longer available
4:35     Thanet There also a picture of private meeting between king guard, me, Lt Governor, Deputy General in there early July 6
4:35     Thanet In my diary, have you see it?
4:35     Vern    What page
4:36     Thanet That meeting is the starting point on the whole July 6
4:36     Thanet I can't remember
4:36     Vern    July 6 is such a key day
4:38     Thanet [Photo]
4:39     Thanet [Photo]
4:39     Thanet The first one is late July 6,
4:39     Thanet The second is morning July 6
4:40     Vern    I got these already need the videos 3
4:40     Thanet [Photo]
4:41     Thanet This is how decision were made early July 6
4:42     Thanet At around 12:30 pm, the Minister of interior is on speak phone in middle of the table give us order to go head and start
prepare dive rescue plan
4:42     Thanet I was not suppose to take this photo
4:43     Vern    What is the map for
4:43     Thanet [Video]
4:43     Thanet [Video]
4:44     Thanet Map is for divert water on pamee area
4:44     Thanet [Video]
4:44     Thanet None of these video suppose to be taken
4:45     Thanet They are under strict order not to leak any of this out, But Colonel did take video anyway
4:46     Thanet *meeting
4:48     Vern    BRILLIANT


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4:48      Vern    [Sticker]
4:49      Vern    If I tell true story I risk being told to leave Thailand
4:49      Thanet Not really,
4:49      Thanet Not they are ok with it
4:49      Thanet Now
4:49      Thanet Now they ok, since many story had already been told by the American
4:50      Vern    Your story My story Josh story VERY POWERFUL
4:50      Thanet So I ask them if that ok to show may video , they said is ok.
4:51      Thanet Yes!!! That why I think we should put our story together. And present as a package
4:51      Thanet It probably one of the most important piece that made this mission accomplish.
4:52      Thanet With out you on June 26 meeting, without me and josh on July 5-6. None of this would never happened . They kid will dies
for sure
4:55      Vern    The email I received from Hollywood CM first line say: you that's me) very much top of the list. Were it not for your
experience, knowledge of the cave and swift response, it no exaggeration to say those boys would most likely not be alive today.
4:55      Vern    I have not replied. Will my agent will control £££$$$
4:56      Thanet That great !!
4:56      Vern    Sit tight
4:56      Thanet I'm happy for you. You truly deserved it.
4:57      Thanet [Sticker]
4:57      Vern    I will make the divers sugger for leaving us out of the loop
4:57      Vern    Suffer
4:57      Thanet 5555
4:57      Thanet They really shouldn 't do that
4:57      Vern    You and Josh also deserve
4:58      Thanet We are the one that fight hard, made decision happed . We set thing up for them to do the job
4:58      Vern    Events happened because of certain people coming together sometimes by chance meeting 555
4:59      Thanet I think it because the divers, doctor are on spotlight
4:59      Thanet Many people, media know them.
5:00      Thanet But we are behind the scene don 't get much chance to present ourself to the media while we were working
5:00      Vern    I'm ready to stick the boot in 555
5:01      Vern    I accept without the divers the kids wouldn't be alive
5:02      Thanet But from 3 of us, I think you probably well know to public and media more. Since you were there in beginning and made
the important decision meeting on June 26 and get divers in
5:02      Thanet But story on behind on July 6 no one know
5:02      Vern    I know but I not the only one and yes July 6 no one knows
5:04      Vern    If they don't meet me the story is not worth anything £££$$$
5:05      Thanet Yes, Well let me know if there is any news developments regarding movie deal. It would be awesome if my part will be in
it 5555 .. I'm really appreated you look out for me Vern , that mean a lot
5:06      Thanet And if there is anything I can help you. Please do not hesitate. Let me know , it alway an honor to meet and work with you
5:06      Thanet **Appreciated
5:07      Vern    I will my friend. Don't worry I will keep you informed on what is happening.
5:08      Thanet Thank you , I'm off to bed now. Will talk to you later
5:08      Vern    An honor for me also to know and work with you
5:08      Thanet [Sticker]
5:08      Vern    [Sticker]
8:08      Vern    [Photo]
8:08      Vern    My agent with Head of Wild Boars Committee Khun Sirisak
8:09      Vern    https://youtu .be/trGm2-qPXcE
8:09      Vern    Produced by my agent Will Robinson
17:32 Thanet [Sticker]
17:33 Thanet That's wonderful

2018/11/14(Wed)
24:28 Thanet Just finish read some part of Matt's book
24:28 Thanet It look wonderful
1:10   Thanet He got a good story of Col. On decision making on July 6 too
1:11   Vern   I hope he will send me a copy 555
1:12   ThanetYes , lhopetoo
1:12   Thanet I was impatient so I bought digital copy today for $12
1:12   Thanet Online
1:12   Thanet [Sticker]
1:13   Thanet He did get a few fact but not whole story from us specially details on July 5-6
1:14   Thanet And there are so many part of story invloved you
1:18   Vern   [Sticker]
1:38   Thanet [Photo]
2:31   Thanet [Video]

2018/11/15(Thu)



                                                                                                                     Exhibit 7, Page 49
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        Case 2:18-cv-08048-SVW-JC Document 84-2 Filed 10/14/19 Page 58 of 58 Page ID
                                         #:2308
8:28   Vern     https:lIwww.smh.com.au/world/asia/richard-harris-craig-challen-land-6m-book-movie-deal-on-thai-cave-20 181105-
p50e6r.html
14:47 Thanet    [Sticker]
14:47 Thanet    Wow
14:47 Thanet    I just read your email
14:49 Thanet    It is funny that, people wanted you to help them out. While they making fortune for themself...
14:50 Thanet    Ellis don 't even mention about the offer they willing to give you on your cooperation

2018/11/16(Fri)
1:12      Vern     Will Robinson my agent will contact you if ok with you
1:19      Vern     They want everything FREE. That's why no one should have helped Matt Guttman (exclamation) he will make a fortune .
We have been very naieve not just you and me but Josh and everyone else
3:48      Thanet [Sticker]
3:48      Thanet Yes
3:51      Thanet Sure Vern , you can have will contact me anytime
3:56      Vern     Just sent you an email and copied in Josh
4:09      Thanet [Sticker]
4:09      Thanet It is good that all of us can stick together
4:11      Vern     Ellis has done a book deal with Ballantine. But he cannot interview Coach Ekk or the boys or me so the deal is dead in the
water 555
4:11      Vern     https:/Iwww.google.com/amp/s/deadline .com/20 18/1 O/ballantine-books-thai-cave-rescue-into-the-dark-universal-world-
english-rights-full-accou nt-1202490327 lampl
4:15      Thanet First, no film or book will complete without the guy who know the cave better than anyone and pull everyone together, get
diver in , push official to do the right thing on June 26

2) the guy who did water work, partial in charge and divert water section in rescue, that made dive rescue possible and help turn decision
around on July 6

3) the guy who work inside negotiating between Thai and goverment and help push official to dive rescue on July 6
4:15    Thanet Yes 55555
4:16    Thanet I think we have bargaining power,
4:16    Vern    [Sticker]
4:45    Thanet [Photo]
4:46    Thanet [Photo]
4:46    Thanet Significant player hah?
4:47    Thanet Obviously it won't complete without your role !!
4:48    Thanet Like you said, it dead in the water
4:48    Vern    [Sticker]
4:49    Thanet Some time I do wonder how come they made deal with driver, give them money and not the same to us?
4:49    Thanet 5555
4:49    Thanet It like they just over look us and looking for free pass
4:51    Vern    He cannot interview Coach Ekk or the boys Wild Boars Committee not allow
4:55    Thanet Why would he announce it then
4:55    Thanet That crazy
5:30    Vern    [Sticker]
22: 38 Tha net https:llwww.thetimes.co.uk/article/thai-fil m-maker-will-beat-ho lIywood-with-sto ry-of-cave-rescue-hs3xh8q 59

2018/11/17(Sat)
24:40 Vern      The Cave film will not be shooting in Chiang Rai now they want to shoot in Sa Kaew province North East
24:40 Vern      He's only including 1 diver Jim Warny who arrived on the 7th and has excluded everyone else (exclamation) Waller is a W
R
24 :53 Thanet 5555
24:54 Thanet [Photo]
24:55 Thanet Seem like he will also play the actor too, very interesting to see how it will turn out
1:00     Vern    This is a low budget film and
I wish him the best.
Our platform is "from Local To Global" and was well received by the selection committee.
1:00     Vern    Message from the Warner Bros guy (exclamation)
1:02     Thanet [Sticker]
1:03     Vern    He will get very little cooporation by the government and they are monitoring his activities closely and to make certain that
he and his team will not violate any rights.
1:20     Vern    He will not and can only write his script with readily available news Ipublic information only .
1:22     Thanet I see
1:22     Thanet This is very tricky to deal with government agency indeed
3:15     Vern    [Photo]
3:16     Vern    [Photo]
3:16     Vern    [Photo]
3:16     Vern    [Photo]
3:16     Vern    [Photol


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